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       Exhibit F
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                                    El Campo Ventures, LLC


August 12, 2019

Via Email: MJones@HenryandJones.com

Michael L. Jones
Henry & Jones, LLP
16901 Dallas Parkway, Suite 202
Addison, Texas 75001

RE:    Stratton Securities / El Campo Ventures Agreement

Dear Mike,

         It is our belief that the Agreement between Stratton and El Campo and the resulting Lease
w/ Option to Purchase Contract entered into with the Federal Government by Stratton made El
Campo a full partner in the property once Stratton received the initial agreed upon $4 Million
referenced in the Stratton/El Campo Agreement. As such, we believe we are fully entitled to 50%
of any and all profits of the venture under any sale or lease of the property as well as fully entitled
to all the rights and privileges of such 50% ownership in the property.

        We understand that Dan and Shannon Stratton disagree with our contention and they desire
to settle this matter in an amicable manner which would allow them to resolve any and all
ownership issues regarding the property and to retain full ownership thereof. Per our previous
conversations regarding this matter please see below our proposed settlement options regarding
the Agreement between Stratton Securities, Inc. and El Campo Ventures, LLC:

Option 1 - Walk Away Number: $3 Million paid today (Full Settlement w/ no future
participation) – Total Value of $3 Million to El Campo.

Option 2 – Discounted Lease Value + Reduced Contingent Purchase Option Payment: $2.25
Million paid today w/ additional $1.75 Million contingent upon exercising of purchase option –
Total Potential Value of $4 Million to El Campo.

Option 3 - Full Federal Contract Participation: 50% of Net Proceeds for 3 year contract
discounted to today (estimated approx. $500K after deduction of $4 Million paid to Stratton and
verified operations expenditures) + 50% of Yr4 proceeds if and when exercised (estimated $1.1
Million) + 50% of Yr5 proceeds if and when exercised (estimated $1.1 Million) + 50% of Sale
Proceeds if and when option is exercised (estimated $5 Million after deduction of verified capital
expenditures) – Total estimated Potential Value of $7.7 Million to El Campo.

Respectfully,




Dan Gattis


                El Campo Ventures, LLC - 213B West 8th Street - Georgetown, Texas 78626
